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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


UNITED STATES OF AMERICA                 )
                                         )           CRIMINAL ACTION NO.
        v.                               )             3:94cr114-MHT
                                         )                  (WO)
ANDREW LEWIS WILSON                      )

                                    ORDER

       Upon    consideration         of       the     probation    officer’s

petition for early termination of supervised release

(doc.    no.    1671)       and   memorandum          describing    defendant

Andrew Lewis Wilson’s successful completion of eight

years    of     supervised        release,       substantial       compliance

with the terms of supervision, stable residence, and

care    for    his   mother,       and       based    on   the   government’s

support       for   early    termination         of    supervision,    it   is

ORDERED that:

       (1) The petition is granted.

       (2) Defendant         Andrew          Lewis     Wilson’s     term    of

supervised release is terminated effective immediately,

and he is discharged.

       DONE, this the 22nd day of September, 2020.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
